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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 US DOMINION, INC., DOMINION VOTING
 SYSTEMS, INC., and DOMINION VOTING
 SYSTEMS CORPORATION,

                   Plaintiffs/Counter-Defendants,
                                                                   Case No. 21-cv-445-CJN
            vs.

  MY PILLOW, INC., Defendant/Counter-Claimant.

  MICHAEL J. LINDELL, Defendant/Counter-
  Claimant/Third-Party Plaintiff,

            vs.

 SMARTMATIC USA CORP., SMARTMATIC
 INTERNATIONAL HOLDING B.V., SGO
 CORPORATION LIMITED, and HAMILTON
 PLACE STRATEGIES, LLC,

                   Third-Party Defendants.



          SMARTMATIC’S POSITION STATEMENT FOLLOWING THE STATUS
                     CONFERENCE HELD ON MAY 31, 2024

          Third-Party Defendants Smartmatic USA Corp., Smartmatic International Holding B.V.

and SGO Corporation Limited (collectively, “Smartmatic”) respectfully submit this letter to the

Court following the Status Conference held on May 31, 2024. At the Status Conference, the Court

requested Smartmatic’s position with respect to whether the sanctions ordered by the Court on

May 31, 2022 (ECF No. 135 at 30-31) should, when the appropriate amount of sanctions is

determined by the Court, be 1) ordered to be paid into an escrow account held by the Court, or 2)

ordered to be paid to Smartmatic, to be held in escrow, pending final judgment and potential

appeal.

          Counsel for Smartmatic has conferred with their client, and respectfully request that the

ordered sanctions, when the amount is determined by this Court, be ordered to be paid to

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Smartmatic, to be held in escrow by counsel for Smartmatic subject to an escrow agreement which

will be negotiated by the relevant parties. Smartmatic further reserves its rights to seek leave to

file a motion for partial final judgment with respect to the dismissal of Lindell’s Counterclaims,

such that the amounts held in escrow may be releasable to Smartmatic following final judgment

and any subsequent appeal.




Dated: June 7, 2024

                                          /s/ J. Erik Connolly

                                          J. Erik Connolly
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                                          Corp., Smartmatic International Holding B.V., and
                                          SGO Corporation Limited




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of June, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties. A copy will also be sent via email and U.S. mail to the following:


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                                             /s/ J. Erik Connolly
                                             J. Erik Connolly (Bar No. IL0099)

                                             One of the Attorneys for Third-Party Defendants
                                             Smartmatic USA Corp., Smartmatic International
                                             Holding B.V., and SGO Corporation Limited




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